
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks to recover $20,411.77 for additional services that claimant provided during an asbestos abatement project (COR61347) for respondent. Although the additional work was authorized by respondent, since it was deemed essential in conjunction with the original scope once the project was initiated, the Department of Administration has final authority on approval/disapproval. Respondent was unable to obtain the approval of the Department of Administration’s Purchasing Division for these additional services in a timely manner.
In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in that appropriate fiscal year from which the invoice could have been paid. However, respondent was unable to “get the change order through the Purchasing Division for the additional services that were *262completed” in a timely manner
In view of the foregoing, the Court is of the opinion to and does make an award to claimant in the amount of $20,411.77.
Award of $20,411.77.
